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                                                                               02/07/2025




                    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                              BILL OF COSTS

        C.A. No. 24-1163

        Caption: In re: U LOCK, Inc., Debtor George Snyder, Appellant

Cost Taxable                         AMOUNT REQUESTED                                 COST ALLOWED
                                                                                      To be Completed by
                                                                                      Clerk
                  No. of   Pages     Cost     Cost Per     Cost    Sales    Total
                  Copies   per       Per      Binding      Per     Tax      Cost
                           Copy      Page                  Cover
Appeal/Original
Proceeding Fee
Brief              8        51       0.10      4.00                 5.10     72.80

Reply Brief
Appendix
Shipping                                                                     52.75



        TOTAL                                                               $125.55 $ 72.80

        Brief Produced by Reproduction:                  Brief Produced by Photocopy:      x
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        I, Stuart C. Gaul, Jr.            , do hereby declare under the penalty of perjury that the
        foregoing costs are true and correct and were necessarily and actually incurred in this
        action.

        /s/ Stuart C. Gaul, Jr.                                               February 7, 2025
        Signature                                                             Date
        Attorney for: Appellee, Christine Biros

        A certificate of service must accompany this form.
                      Case: 24-1163             Document: 34
                                                          33             Page: 2           Date Filed: 02/10/2025
                                                                                                       02/07/2025


                                                                                                                             Invoice
                                                                                                                    Date          Invoice #
  Payable to: Array
                                                                                                                 8/20/2024        X106239
  Mail to: 2995 Dawn Dr. Suite 106
            Georgetown, TX 78628
  Phone: 716-640-8823                                                                                                Tax ID - XX-XXXXXXX
  **Please include invoice number with payment**

  Bill To                                                                          Ship To

Bernstein-Burkley, P.C.                                                          Bernstein-Burkley, P.C.
601 Grant St, 9th Floor                                                          601 Grant St, 9th Floor
Pittsburgh, PA 15219                                                             Pittsburgh, PA 15219
Attn: Accounts Payable                                                           Attn: Accounts Payable



                                                                                                           Job Number        Array-PIT022050

  Terms        Due Date       Ship Date         Rep                 Client Ref                 Client Contact              Project Name

  Net 30       9/19/2024       8/20/2024        MK                   3626-001                  Cynthia Kovack                3626-001


       Quantity                                       Description                                     Price Each                Amount

                    459 Blowback Printing - Black & White 8.5 x 11                                                  0.10                  45.90T
                      9 Velo Bind                                                                                   4.00                  36.00T
                      1 Shipping                                                                                   52.75                  52.75
                        • Briefs shipped to Courthouse in Philadelphia via FedEx




Unless otherwise covered by a separate written agreement: a) this invoice is due within 30
days of receipt; b) client is subject to maximum allowable finance charges on all past due      Subtotal                                $134.65
accounts plus any related attorney fees and collection charges incurred by Array; c) client
has 10 days from receipt of invoice to inspect the completed work for errors; d) if no          Sales Tax (7.0%)                          $5.73
objection is made within the 10 days, this invoice shall be deemed accepted and full payment
shall be due in accordance with the terms stated above.
                                                                                                Payments/Credits                          $0.00

                                                                                                                                        $140.38
                                                                                                Balance
        Case: 24-1163     Document: 34
                                    33     Page: 3    Date Filed: 02/10/2025
                                                                  02/07/2025




                           CERTIFICATE OF SERVICE

      I, the undersigned, hereby certify that a true and correct copy of the within

BILL OF COSTS was served this 7th day of February, 2025, via the Court’s

CM/ECF notification system on all counsel of record and unrepresented parties.


                                             Stuart C. Gaul, Jr.
